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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                               Eastern Division

Chicago Board Options Exchange Volatility Index
Manipulation Antitrust Litigation, et al.
                                                          Plaintiff,
v.                                                                     Case No.:
                                                                       1:18−cv−04171
                                                                       Honorable Manish S.
                                                                       Shah
John Does, et al.
                                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 3, 2020:


         MINUTE entry before the Honorable Manish S. Shah: Cboe's motion to quash or
for a protective order [322] is denied in part, granted in part. The purpose of the subpoena
is not impermissible merits discovery, and so the burden it places on Cboe is not undue or
disproportionate. The purpose of the subpoena is to identify the Doe defendants, although
some steps of the process overlap with some investigation of the merits. On balance, the
overlap is not so great so as to overwhelm the good cause that exists to use discovery to
identify Does. See [311] at 3−4. Cboe does not persuasively suggest that the volume of
information poses an undue burden, and the risk of inappropriate disclosure of innocent
actors' trading strategies is low at this first step. The subpoena is not quashed. The motion
is granted to the extent the subpoena is narrowed as follows. The requested quotations are
limited to the near−term and next−term SPX Options used to calculate the spot VIX (the
SPX Options maturing on March 2 or March 9, 2018) and from the normal−hours trading
periods on February 5 and 6 and the extended−hours trading period from the early
morning of February 6, 2018. (That is, the narrowed scope plaintiffs agreed to.) Cboe's
objection that this narrowed window is overinclusive for Doe identification purposes is
overruled. Cboe shall use consistent aliases when producing the quotations. Cboe is not
required to produce the data until the terms of a confidentiality order are entered. The
plaintiffs and Cboe should complete their negotiations over those terms and contact the
courtroom deputy if court assistance is necessary. The court expects the confidentiality
order to include security precautions and restricted access and use of the data, and that an
order can be entered within two weeks. The court will grant Cboe a reasonable amount of
time to produce the information, understanding that production is not as simple as a push
of a button. The denial of Cboe's motion is without prejudice to Cboe raising objections
when plaintiffs seek to unmask identities. Plaintiffs should expect to point to specific
allegations in their complaint when seeking to identify the person or entity behind a
particular quote. Notices mailed. (psm, )
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